          Case 1:19-cv-00549-AT Document 64 Filed 07/19/20 Page 1 of 6




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

MONISHA DALCOE,                        |
                                       |
             Plaintiff,                |
                                       |             Civil Action No.
v.                                     |             1:19-CV-0549-AT
                                       |
NEW PRIME, INC.,                       |
                                       |
             Defendant.                |

                  PLAINTIFF'S MOTION IN LIMINE
            TO EXCLUDE DEFENDANT'S EXPERT WITNESSES

      COMES NOW, Plaintiff, Monisha Dalcoe, by and through undersigned

counsel, and pursuant to Rule 26(a)(2) of the Federal Rules of Civil Procedure and

Rule 26.2(C) of the Civil Local Rules of Practice for the United States District Court

for the Northern District of Georgia, moves this Honorable Court to enter an order

precluding the Defendant, New Prime Inc., from proffering or tendering any expert

testimony or any other undisclosed expert for whom Defendant did not make a timely

and complete disclosure to Plaintiff prior to the end of the court-ordered discovery

period.

      Rule 26(a)(2) requires that a party seeking to present expert testimony make

certain disclosures to the opposing party. See Fed. R. Civ. P. 26(a)(2). Moreover, a

party is also required to supplement any prior disclosures regarding expert testimony

to modify and/or correct same as appropriate. See Fed. R. Civ. P. 26(e)(2). As

                                           1
          Case 1:19-cv-00549-AT Document 64 Filed 07/19/20 Page 2 of 6




relevant here, "[a] party must make these disclosures at the times and in the sequence

that the court orders." Fed. R. Civ. P. 26(a)(2)(D).

       Local Rule 26.2(C) also governs the timing of expert disclosures and provides

as follows:

       Any party who desires to use the testimony of an expert witness shall
       designate the expert sufficiently early in the discovery period to permit
       the opposing party the opportunity to depose the expert and, if desired, to
       name its own expert witness sufficiently in advance of the close of
       discovery so that a similar discovery deposition of the second expert
       might also be conducted prior to the close of discovery.

LR 26.2(C), NDGa (emphasis added). See also Mann v. Taser Int'l, Inc., 588 F.3d

1291, 1310 (11th Cir. 2009) (holding that Rule 26(a)(2) "correlates with local rule

26.2, which mandates that expert opinions must be disclosed sufficiently early in the

discovery period to allow the opposing party to react before the close of discovery,

under penalty of exclusion.").

       In the instant case, this Court entered an Order to Extend Discovery until

January 31, 2020. [Doc. 37 & Order (Dkt. Entry Only), entered 01/22/2020.] As part

of its discovery requests, Plaintiff asked Defendant about any expert witnesses it

intended to rely on in the matter. [Plf.'s First Interrogs. to Def. ¶ 9; Plf.'s First Req. for

Prod. of Docs. to Def. ¶ 9.] Yet it was not until March 17, 2020, almost two months

after the close of discovery on January 31, 2020, that Defendant first sought to

disclose three (3) expert witnesses: Kevin L. Stevenson, Mireille E. Kelley and

Emmanuel J. Manuel. [Def. New Prime Inc.'s Second Supp. Resp. to Plf.'s First


                                              2
         Case 1:19-cv-00549-AT Document 64 Filed 07/19/20 Page 3 of 6




Interrogs.; Def. New Prime Inc.'s Second Supp. Resp. to Plf.'s First Req. for Prod. of

Docs.]

       Significantly:

       If a party fails to provide information or identify a witness as required by
       Rule 26(a) and (e), the party is not allowed to use that information or
       witness to supply evidence on a motion, at a hearing, or at a trial, unless
       the failure was substantially justified or is harmless.

Fed. R. Civ. P. 37(c)(1). Similarly, this Court's Standing Order expressly and

unambiguously states that "[t]he Court does not allow evidence at trial which was

requested and not revealed during the discovery period." [Doc. 3, p.14.]

       Being that the discovery period closed almost two months prior to Defendant's

disclosure of Kevin L. Stevenson, Mireille E. Kelley, Emmanuel J. Manuel,

Defendant's tardy disclosure cannot be deemed harmless, for Plaintiffs cannot react to

Defendant's disclosure within the discovery period. See Black's Law Dictionary (11th

ed. 2019) (defining "harmless error" as "error that does not affect a party's substantive

rights or the case's outcome"). And being that Defendant "knew or should have known

that an expert was necessary before the late stages of the discovery period," Morrison

v. Mann, 244 F.R.D. 668, 673 (N.D. Ga. 2007), Defendant's tardiness is not

substantially justified.

       Therefore, in the instant case, Defendant should be prohibited from tendering or

proffering expert testimony from Kevin L. Stevenson, Mireille E. Kelley, and/or

Emmanuel J. Manuel due to its untimely disclosure of such experts. See, e.g., United


                                            3
           Case 1:19-cv-00549-AT Document 64 Filed 07/19/20 Page 4 of 6




States v. An Easement and Right-of-Way Over 1.58 Acres of Land, 343 F. Supp. 3d

1321, 1336-38 (N.D. Ga. 2018) (party's failure to timely disclose testimony of experts

during discovery phase of proceedings precluded him from offering the same

witnesses at trial); Mann, 588 F.3d at 1310-11 (affirming trial court's ruling to exclude

expert testimony not disclosed until months after the discovery deadline had passed).

      WHEREFORE, Plaintiff respectfully requests that this Court enter an order as

follows:

      A.      Grant Plaintiff's Motion in Limine to Exclude Defendant's Expert

Witnesses;

      B.      Prohibit Kevin L. Stevenson, Mireille E. Kelley, and/or Emmanuel J.

Manuel from offering expert testimony or opinion, verbal or written, in the above-

captioned litigation;

      C.      Prohibit Defendant and its legal counsel from introducing or referring in

any way to the expert testimony or opinions of Kevin L. Stevenson, Mireille E.

Kelley, and/or Emmanuel J. Manuel in the trial of the above-captioned litigation; and

      D.      Grant Plaintiff any other and further relief the Court deems just and

equitable.

      Respectfully submitted this 19th day of July, 2020.


               [THE SIGNATURE BLOCK FOLLOWS THIS PAGE]




                                           4
      Case 1:19-cv-00549-AT Document 64 Filed 07/19/20 Page 5 of 6




                           BROWN BARNWELL, P.C.

                           /s/ C. Napoleon Barnwell, Esq.
                           C. Napoleon Barnwell, Esq.
                           Georgia Bar No.: 728188


BROWN BARNWELL, P.C.
30 Perimeter Park Dr.
Suite 205
Atlanta, GA 30341
T: (470) 406-6384
F: (866) 468-9898




                                   5
         Case 1:19-cv-00549-AT Document 64 Filed 07/19/20 Page 6 of 6




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

MONISHA DALCOE,                        |
                                       |
             Plaintiff,                |
                                       |            Civil Action No.
v.                                     |            1:19-CV-0549-AT
                                       |
NEW PRIME, INC.,                       |
                                       |
             Defendant.                |

                          CERTIFICATE OF SERVICE

      I hereby certify that I have this day served a copy of the within and foregoing

PLAINTIFF'S MOTION IN LIMINE TO EXCLUDE DEFENDANT'S EXPERT

WITNESSES upon all parties via electronic mail thereto:

                           Elizabeth L. Bently, Esquire
                            Richard C. Foster, Esquire
                          Beth.Bently@swiftcurrie.com
                          Richie.Foster@swiftcurrie.com

This 19th day of July, 2020.

                                BROWN BARNWELL, P.C.

                                /s/ C. Napoleon Barnwell, Esq.
                                C. Napoleon Barnwell, Esq.
                                Georgia Bar No.: 728188

BROWN BARNWELL, P.C.
30 Perimeter Park Dr.
Suite 205
Atlanta, GA 30341
T: (470) 406-6384
F: (866) 468-9898
